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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                       :
         Anthony G. Coates                   :       Chapter 13
                                             :
         Debtor                              :      Case No. 16-17938-ELF


                                 CERTIFICATE OF SERVICE

       I Brad J. Sadek, Esq. certify that on the date indicated below served a true and correct
copy of the Debtor’s Motion to Modify Chapter 13 Plan and Notice of Motion by electronic or
Regular US Mail on all creditors and the following parties:



                                 WILLIAM C. MILLER, Esq.
                                     Chapter 13 Trustee
                                       P.O. Box 1229
                                   Philadelphia, PA 19105




Dated: October 26, 2020                                     /s/Brad J. Sadek, Esq
                                                    Brad J. Sadek, Esq.
                                                            Attorney for Debtor
                                                            1315 Walnut Street
                                                            Suite #502
                                                            Philadelphia, PA 19107
